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                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                              CASE NO.: 1:18-CV-61463-SELTZER

  JANET FRANCIS,

         Plaintiff,

  v.

  MSC CRUISES, S.A.,

        Defendant.
  ________________________________________/

                     DEFENDANT’S RESPONSE TO PLAINTIFF’S
             MOTION TO STRIKE AFFIRMATIVE DEFENSES AND FEE CLAIM

         Defendant, MSC Cruises, S.A., (hereinafter “Defendant” or “MSC”) hereby files its

  Response to Plaintiff’s Motion to Strike Affirmative Defenses and Fee Claim and states as

  follows:

  I.     Introduction

         This matter involves a passenger who claims she suffered personal injury while on a

  cruise ship. On July 31, 2018, MSC answered the Complaint and asserted affirmative defenses.

  See DE 14. Plaintiff has moved to strike MSC’s fee claim and MSC’s Tenth, Twelfth, Sixteenth

  and Twentieth Affirmative Defenses. MSC is unopposed to portions of Plaintiff’s Motion but is

  opposed to other portions. Plaintiff has failed to demonstrate how the contested affirmative

  defenses could not succeed under any set of circumstances, and has failed to show the prejudice

  and confusion necessary for a motion to strike. For these reasons and the reasons set forth herein,

  the opposed portion of Plaintiff’s Motion to Strike should be denied.

  II.    Motions to Strike Are Disfavored

         It is well settled in this circuit that motions to strike affirmative defenses are generally
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  disfavored and will usually be denied. See Kreiser v. Celebration Cruise Operator, Inc., 14-

  61832-CIV, 2014 WL 5820342, at *1 (S.D. Fla. 2014) (“[T]he Court is mindful that ‘a motion to

  strike is a drastic remedy that is disfavored by the courts’”) (quoting Agan v. Katzman & Korr,

  P.A., 328 F. Supp. 2d 1363, 1367 (S.D. Fla. 2004)); Resolution Trust Corp. v. Holland & Knight,

  832 F. Supp. 1532 (S.D. Fla. 1993) (noting that motions to strike are often sought “simply as a

  dilatory tactic”); Brown v. Seebach, 763 F. Supp. 574, 583 (S.D. Fla. 1991) (same); see also

  Fabrica Italiana Lavorazione Materie Organiche S.A.S. v. Kaiser Aluminum & Chemical Corp.,

  684 F.2d 776 (11th Cir. 1982); Thompson v. Kindred Nursing Centers East, LLC, 211 F.Supp.2d

  1345 (M.D. Fla. 2002); In re Sunbeam Securities Litigation, 89 F .Supp.2d 1326 (S.D. Fla.

  1999). A “court will not exercise its discretion under the rule to strike a pleading unless the

  matter sought to be omitted has no possible relationship to the controversy, may confuse the

  issues, or otherwise prejudice a party.” Reyher v. Trans World Airlines, Inc., 881 F.Supp. 574

  (M.D. Fla. 1995); Italiano v. Jones Chems., Inc., 908 F. Supp. 904, 907 (M.D. Fla. 1995) (such

  motions are not favored by courts and are generally denied).

  III.   Analysis of MSC’s affirmative defenses

         A.     Fee Claim

         Plaintiff’s request to strike the fee claim is unopposed as MSC agrees to remove the

  words “attorney’s fees” from the last sentence of its Answer and Affirmative Defenses (i.e. the

  wherefore clause). See DE 14, at p. 7. MSC requests the Court accept the agreement reached

  among the parties and strike the words “attorney’s fees” from the wherefore clause.

         B.     Tenth and Twelfth Affirmative Defenses

         MSC agrees to modify its Twelfth Affirmative Defense but does not agree to strike or

  modify its Tenth Affirmative Defense. The Tenth and Twelfth Affirmative Defenses state:




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         No. 10: The alleged injuries or damages suffered by Plaintiff, the existence of
         which MSC specifically denies, were caused entirely by the actions and/or
         omissions of third parties for whom MSC has no responsibility or liability.

         No. 12: MSC has no legal responsibility for the damages or injuries alleged by
         Plaintiff in the Complaint, the existence of which MSC specifically denies;
         however, in the event that the MSC is held liable, any liability being specifically
         denied by the MSC, such liability will be due in whole or in part to the breach of
         warranty, acts, omissions, activities, failures, recklessness or negligence of others.
         Accordingly, any recovery by Plaintiff against the MSC should be reduced in
         proportion to the respective negligence, fault, or responsibility of all other parties,
         persons, or entities, including their agents, servants, representatives, or employees
         who contributed to or caused any injury or damages to Plaintiff, if any, in
         accordance with the law governing comparative fault.

  See DE 14, at p. 9. Although, joint and several liability applies in maritime cases, MSC is

  entitled to assert that Plaintiff’s damages, if any, were caused by a third party. The jury is entitled

  to hear about all the facts of the case at trial regardless of who fulfills a judgment, if any.

  Therefore, MSC requests the Court strike the second sentence of the Twelfth Affirmative

  Defense without striking or altering the Tenth Affirmative Defense. The new Twelfth

  Affirmative Defense reads as follows:

         No. 12: MSC has no legal responsibility for the damages or injuries alleged by
         Plaintiff in the Complaint, the existence of which MSC specifically denies;
         however, in the event that the MSC is held liable, any liability being specifically
         denied by the MSC, such liability will be due in whole or in part to the breach of
         warranty, acts, omissions, activities, failures, recklessness or negligence of others.

         C.      Sixteenth Affirmative Defense

         Plaintiff’s current attorney has previously been denied the request to strike an affirmative

  defense asserting a cruise line defendant is entitled to a set off for collateral source payments.

  See Kreiser v. Celebration Cruise Operator, Inc., 14-61832-CIV, 2014 WL 5820342, at *1 (S.D.

  Fla. 2014). MSC’s Sixteenth Affirmative Defense similarly states:

         No. 16: To the extent applicable, any award of damages to Plaintiff should be
         reduced by any collateral source payments paid to and/or received by Plaintiff.

  DE 14, at p. 10. The Court held that “such a drastic remedy at this stage of the above- styled


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  cause is premature...” Id. at *1. Here, the request is also premature.

          Besides Kreiser, the collateral source issue has been dealt with at a much later stage in

  litigation by courts ruling on motions in limine.1 See Smith v. Royal Caribbean Cruises, Ltd.,

  2014 WL 5312534, at *3 (S.D. Fla. 2014) (granting “Defendant’s Motion in Limine to limit the

  introduction of medical expenses, as evidence of damages, to the amount that plaintiff actually

  paid and exclude any reference to any other amounts billed or paid by collateral sources”);

  Frauenthal v. Oceania Cruises, Inc., 2016 WL 2962897, at *1 (S.D. Fla. 2016) (denying

  plaintiff’s motion in limine seeking to preclude defendants “from introducing evidence

  regarding: 1) payments made by collateral sources for her medical care, and 2) any reductions of

  her medical bills which were a result of group medical insurance contracts”); Jones v. Royal

  Caribbean Cruises, Ltd., 2013 WL 8695361, at *7-8 (S.D. Fla. 2013) (“[S]o as to avoid a

  windfall to Plaintiff, the Court notes that if Plaintiff prevails at trial, he is only entitled to collect

  the amount of medical expenses actually billed for his injuries. The Court finds that Plaintiff may

  admit the gross amount of his medical bills at trial..., which will be subject to an appropriate

  post-trial set-off (in the event that damages are awarded)”).

          Here, the drastic remedy of striking pleadings is premature and unwarranted. Plaintiff is

  suing for monetary damages, which include reimbursement of medical expenses. To the extent

  Medicare, Medicaid and/or insurance covered her medical expenses, any recovery should be

  reduced by the collateral source payment(s). Plaintiff is not entitled to recover twice. See Jones v.
  1
    Plaintiff fails to cite to any legal authority to support the proposition that striking a collateral
  source affirmative defense is appropriate. None of the cases cited by Plaintiff involve a court
  striking a collateral source affirmative defense. See Bourque v. Diamond M. Drilling Co., 623
  F.2d 351 (5th Cir. 1980) (discussing on a post-trial appeal); Johnson v. Cenac Towing, Inc., 544
  F.3d 296 (5th Cir. 2008) (discussing on a post-trial appeal); Stanley v. Bertram- Trojan, Inc., 868
  F. Supp. 541 (S.D.N.Y. 1994) (discussing applications made by the parties as to the judgment
  after the jury returned a verdict); Barry v. Carnival Corp., No. 05-22549-CIV- UNGARO, (S.D.
  Fla. Jun. 16, 2010) (discussing a motion in limine).


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  Royal Caribbean Cruises, Ltd., 2013 WL 8695361, at *7-8 (S.D. Fla. 2013) (“As a threshold

  matter, it is undisputed that Plaintiff is not entitled to a ‘windfall’ as a result of presenting

  evidence of the full amount of his medical bills and having paid a lesser amount.”) Moreover,

  Plaintiff has failed to demonstrate how the affirmative defense could not succeed under any set

  of circumstances, and has failed to show prejudice and confusion.2

         D.      Twentieth Affirmative Defense

         MSC’s force majeure and Act of God affirmative defense is valid in this case. The

  Twentieth Affirmative Defense states:

         No. 20: The incident alleged in the Complaint was caused by a force majeure
         and/or Act of God. Force Majeure’s and/or Acts of God are beyond Defendant’s
         control and therefore Defendant is not liable for any loss or injury arising from a
         force majeure and/or Act of God.

         Here, the issue of whether there was a force majeure or Act of God that caused the

  incident is an issue of fact, which cannot be decided on a motion to strike. See e.g. Lopez v.

  Resort Airlines, 18 F.R.D. 37, 40 (S.D.N.Y. 1955) (“Whether an act of God actually caused the

  accident presents an issue of fact which cannot, of course, be decided on a motion to strike”);

  Fox v. Trans World Airlines, Inc., 20 F.R.D. 565, 568 (E.D. Pa. 1957) (“Defendant’s pleading of


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    Plaintiff failed to allege sufficient prejudice to warrant such a drastic remedy. MSC is entitled
  to conduct discovery on collateral source payments because, for instance, monetary amounts
  Plaintiff actually paid for her medical care in connection with the alleged incident is relevant:

         With respect to evidence of reductions to medical bills, the reasonable and
         customary cost of care for the medical services received by Plaintiff are the
         amounts which were actually paid by her or by a collateral source on her behalf,
         and evidence relating to other amounts which were written off are not relevant to
         this action. As such, if Plaintiff introduces evidence of medical bills which
         include amounts that were not actually paid by Plaintiff or by a collateral source,
         Defendant cannot be precluded from introducing evidence of reductions.

  See Frauenthal, 2016 WL 2962897, at *1. Therefore, Plaintiff’s argument as to prejudice is
  hollow.


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  an Act of God as having caused the crash presents an issue of fact which cannot be decided at

  this time”). A force of nature, such as the weather, is the primary example of the type of Act of

  God or force majeure that applies in the instant case. Plaintiff’s allegations of a wet substance on

  the deck could certainly been caused by such an Act of God or force majeure as rain or humidity.

  Welch v. FFE Transp. Services, Inc., 2015 WL 3795917, at *3 (E.D. Tenn. June 18, 2015)

  (“Here, if the Court were to grant plaintiff's motion to strike the “Act of God” defense, it would

  ultimately be finding that the weather conditions present at the time of the accident had

  absolutely no bearing on the cause of the accident. The Court finds that this issue is for the trier

  of facts, and therefore DENIES plaintiff's motion to strike the “Act of God” defense”).

  Therefore, the Court should deny Plaintiff’s request.

  IV.    Conclusion

         Plaintiff’s Motion to Strike is premature and unwarranted. For the reasons set forth

  herein, the contested portions of Plaintiff’s Motion to Strike should be denied.

         If, however, the Court decides to strike any of the defenses, MSC respectfully requests it

  be allowed to amend the affirmative defense(s).

  Dated: September 7, 2018
         Miami, Florida
                                                          Respectfully submitted,

                                                          MALTZMAN & PARTNERS, P.A.

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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that the foregoing was electronically filed with the Clerk of the

  Court via CM/ECF on this 7th day of September 2018. I also certify that the foregoing was

  served on all counsel or parties of record on the attached Service List either via transmission of

  Notices of Electronic Filing generated by CM/ECF or in some other authorized manner for those

  counsel or parties who are not authorized to receive electronic Notices of Filing.

                                                          By: /s/ Steve Holman
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